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                                         CO U RT M IN UTES                                         Page11
                                M agistrate Judge Lauren F.Louis
                  AtkinsBuildingCourthouse-11thFloor                     Date:4/15/21       Time:10:00a.m.
Defendant:Niviane PetitPhelps             J#:38956-506 Case #:21-2699-M J-OTAZO-REYES
AUSA: Abbie W axm an                                 Attorney: ScottSaul
Violation: THREATS AGAINST THEVICE PRESIDENT
Proceeding: PTD                                              CJA Appt:
Bond/PTD Held:' Yes E No               Recommended Bond:PTD
Bond Setat:                                                  Co-signed by:
 r-' surrenderand/ordonotobtainpassports/traveldocs                 Language: English
 r ReporttoPTSas directed/or       x'saweek/monthby                 Disposition:
   phone:      x'saweek/monthinperson                                Brad w arnin alread iven/prel/Arr
     Random urinetestingbyPretrialServices                           4/23
     Treatm ent as deem ed necessary
 Nr Refrainfrom excessiveuseofalcohol                                pefendantconsentedtoappearvia
 Nr Participateinmentalhealthassessment&treatment                    v
                                                                     'ideo
 Nr Maintainorseekfull-timeemployment/education
 Nr Nocontactwithvictims/witnesses                                   pretrialoetentionhearingheldbused
 Nr Nofirearms                                                       onrisk/flight;S/ALucasWhite,U555
 Nr Nottoencumberproperty                                            sworn& testnied
 Nr' Maynotvisittransportationestablishments
     HomeConfinement/ElectronicMonitoringand/or                      rhe courtordersDefendantdetained
     Curfew             pm to           am,paid by                   based on dangerto the com m unity
     Allow ances:M edicalneeds,courtappearances,attorney visi
                                                            ts,
     religious,em ploym ent
 Nr Travelextendedto:                                                   '
 Nr other:                                                            fromSpeedyTrialclock
NEXT COURT APPEARANCE Date;               Tim e:           Judge:                       Place:
ReportRE Counsel:
PTD/BondHearing'.
Prelim/ArraignorRemoval:
Status Conference RE:
D.A.R. 13:00:29                                                     Tim e in Court: 30 m ins
